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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:20-cv-00742-DDD-KAS

  JAMES COREY GOODE, individually and,
  GOODE ENTERPRISE SOLUTIONS INC.,

  Plaintiffs,

  v.

  GAIA, INC.,
  JAY WEIDNER,
  BENJAMIN ZAVODNICK,
  ALYSSA MONTALBANO,
  JIRKA RYSAVY,
  BRAD WARKINS, and
  KIERSTEN MEDVEDICH

  Defendants.


  ----
  Alyssa Chrystie Montalbano, Individually

  Counter-Claimant,

  v.

  James Corey Goode, individually

  Counter-Defendants,


  David Wilcock,
  THE WILCOCK SPIRITUAL HEALING AND
  EMPOWERMENT FOUNDATION

  Third-Party Defendants.
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                     ALYSSA MONTALBANO RESPONSE TO

     “THIRD-PARTY DEFENDANT ELIZABETH LORIE’S RENEWED
   MOTION FOR SANCTIONS AGAINST ALYSSA MONTALBANO” [#376]




                                 I.     INTRODUCTION



        Alyssa Chrystie Montalbano, pro se litigant and third-party plaintiff, files this

  Response to Deny with Prejudice Ms. Elizabeth Lorie‘s, ―THIRD-PARTY DEFENDANT

  ELIZABETH     LORIE‘S   RENEWED      MOTION     FOR    SANCTIONS     AGAINST     ALYSSA

  MONTALBANO‖ (―Motion‖) [#376, filed August 10, 2023] and to Strike the Motion, for

  being untimely, vexatious, and in breach of all procedural requirements of F.R.C.P. 11,

  and   to    Sanction    Elizabeth    Lorie,   her     counsel   Alicia   Reinken,     and

  ROBINSON & HENRY, P.C. and compensate Montalbano and the Court under

  F.R.C.P. 11, 28 USC 1927, and The Court‘s Inherent Power to deter the aforementioned

  parties from filing additional vexatious papers in this case and compensate Montalbano

  for defending against the malicious Motion that unnecessarily multiplied the proceedings.




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  I.      ARGUMENTS to Deny With Prejudice and Strike Motion for Sanctions
          Under F.R.C.P. 11 for Being Vexatious and Untimely


          A. Summary Motion For Sanctions

  The alleged ‗Renewed‘ Motion for Sanctions (―Motion‖) [#376] requests two basic forms

  of relief:

       1. Attorney Fees under F.R.C.P. 11(b)(1) [#376 at 9]; and

       2. Montalbano‘s Complaint withdrawn against Ms. Lorie [#376-1].


  The Motion also alleges a May 28, 2021, ROBINSON & HENRY, P.C., Demand Letter

  (―Letter‖) [#376-1] emailed to Montalbano by Ms. Lorie‘s former counsel Mr. Timothy

  Murphy [#266, Substitution Counsel] is somehow a Motion for Sanctions or Notice of

  pending Sanctions to be filed in Court [#376 at 12] that triggered the twenty-one (21) day

  ―Safe Harbor‖ period under F.R.C.P. 11.



          B. FED. R. CIV. P. 11(c) Sanction Motion Procedural Requirements

  The Motion for Sanctions process is defined at FED. R. CIV. P. 11(c)(2) and has five

  primary requirements; the Motion for Sanctions:


       1. ―[M]ust be made separately from any other motion . . . .‖ Meaning (1) must be a

          separate motion; and (2) must not be part of another motion. Id.


       2. ―[M]ust describe the specific conduct that allegedly violates Rule 11(b) . . . .‖ Id.




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     3. ―[M]ust be served under Rule 5 . . . .‖ on the offending party twenty-one (21) days

         prior being filed in Court (also known as the ―Safe Harbor‖ period). Id.


     4. ―[M]ust not be filed or be presented to the court if the challenged paper, claim,

         defense, contention, or denial is withdrawn or appropriately corrected within

         21 days after service or within another time the court sets.‖ Id.



  Before any of the alleged contentions in Lorie‘s Motion can be taken into consideration

  by the Court to determine awards, the Court must first determine if the filing party

  followed all Motion for Sanction Rules before filing the Motion in Court.



         A. Lorie and Reinken Failed to Serve the Motion for Sanctions on
            Montalbano and Breached F.R.C.P. 11(c)(2)


  Dismissed Third-Party Defendant, Ms. Elizabeth Lorie (a Florida based attorney), and her

  Colorado Counsel Ms. Alicia Reinken of ROBINSON & HENRY, P.C., wrongfully

  argue former counsel‘s emailed Demand Letter (―Letter‖) [#376-1], dated May 28, 2021,

  was Notice to Montalbano of pending Sanctions under F.R.C.P. 11. Lorie and Reinken

  falsely allege, ―Lorie warned Montalbano she would seek the imposition of sanctions if

  Montalbano did not withdraw her claims against Lorie. Exhibit 1‖.

  [#376 at 12, citing #376-1 ―Letter‖]




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  The Letter is not labeled as a Motion for Sanctions, does not mention Sanctions or

  F.R.C.P. 11. On its face, the Letter did not triggered the 21 day ―Safe Harbor‖ period.

  Lorie‘s statement is false and in breach of The Colorado Rules of Professional Conduct

  (―Colo. RPC‖), Rule 3.3, Candor Toward the Tribunal.



         B. Lorie’s Informal Letter Does Not Qualify as a Motion For Sanctions
            Triggering the Safe Harbor Period


  The matter of if a Letter qualifies as a Motion for Sanctions and triggers the start of the

  21 day ―Safe Harbor‖ period is addressed in detail in controlling 10th Circuit case,

  Roth v. Green, 466 F.3d 1179 (Colo. Ct. App. 2006). (Exhibit 1, Roth v. Green)


  Roth v. Green is strikingly similar to the Sanctions matter pending before this Court.

  Roth held, Letters sent by the Defendants and received by the Plaintiff‘s Counsel,

  Mulhern, met the meet and confer requirement of D.C.COLO.LCivR 7.1 because the

  Letters demanded Mulhern withdraw his client‘s frivolous claims, cited sanctions, fees,

  and F.R.C.P. 11. Id. at 1190.


  In contrast, Defendant Lorie‘s Letter did not mention Sanctions or F.R.C.P. 11. This

  same failure of process was addressed in unpublished case, Rusk v. FIDELITY

  BROKERAGE SERVICES, 850 Fed.Appx. 657 (Utah Ct. App. 10th Cir. 2021).

  (Exhibit 2, Rusk) The 10th Circuit Court held that Plaintiff Rusk‘s threat Letter

  completely failed factually and legally under F.R.C.P. 11;




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         ―[B]ecause Mr. Rusk's threat did not mention Rule 11, identify any
         misrepresentations, demand their withdrawal, or say that he was going to move
         for sanctions. The argument fails legally because our precedent requires
         service of the actual motion to be filed; warning letters are insufficient.
         Roth v. Green, 466 F.3d 1179, 1192 (10th Cir. 2006). Under this precedent, Mr.
         Rusk's threat to sue did not relieve him of the obligation to serve his sanctions
         motion 21 days before filing it. We thus uphold the district court's first rationale
         for denying the motion.‖

  Id. at 658–59. (emphasis added).


  Like Rusk, Defendant Lorie and Counsels‘ threat Letter [#376-1] fails to mention

  Sanctions or F.R.C.P. 11 and completely fails factually and legally under Rule 11, and

  also fails under D.C.COLO.LCivR 7.1 as a sanctions conferral, and did not relieve them

  of the obligation to serve Montalbano the actual sanctions motion [#376] 21 days before

  filing it in Court.


  Roth, 466 F.3d at 1192, further analyzed Rule 11 and held,
         ―[T]he district court abused its discretion in granting defendants' motions for
         Rule 11 sanctions.

         Contrary to defendants' arguments, nothing in subsection (c)(1)(A) suggests that
         a letter addressed to the alleged offending party will suffice to satisfy the safe
         harbor requirements. Rather, the plain language of subsection (c)(1)(A)
         requires a copy of the actual motion for sanctions to be served on the
         person(s) accused of sanctionable behavior at least twenty-one days prior to the
         filing of that motion.‖

  (emphasis added).


  Under Roth, it would be an abuse of discretion for this Court to grant Lorie and

  Reinken‘s Motion as it was never prior served on Montalbano under F.R.C.P. 11.



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         C. Lorie’s Letter Is Substantially Different from the Motion For
            Sanctions and Did Not Trigger The Safe Harbor Period


  The final test to determine if the Letter qualifies as a lawfully served Motion for

  Sanctions, is to compare the Letter‘s contents with Lorie‘s August 10, 2023 Court filed

  Motion contents.


  An example of a properly served Safe Harbor Motion for Sanctions and subsequent filed

  Motion for Sanctions is seen in, Carlson v. TOWN OF MOUNTAIN VILLAGE, Colorado,

  No. 1:17-cv-02887-PAB-STV; a case law cited by Lorie and Reinken [#376 at 15].

  In Carlson, the served Safe Harbor motion and filed motion are substantially similar,

  both cited F.R.C.P. 11, specified breaches, and provided legal authorities.

  (Exhibit 3, Carlson, Dockets 130 and 130-1).


  In contrast, Lorie‘s Letter and Motion are substantially different.


     (1) The filed Motion [#376] cites F.R.C.P. 11, alleged breaches, sanctions, and

         provides legal authorities.


     (2) The Letter [#376-1] alleges Montalbano‘s claims are frivolous and demands

         withdraw, but provided no specificity, laws, or rules that Montalbano is in alleged

         breach of and did not threaten Sanctions, but rather that Lorie and Counsel would,

         ―[File] a responsive pleading which may include counterclaims, dispositive

         motions, and requests for attorney‘s fees to be paid by [Montalbano].‖

         [#376-1 at 1]


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         ―The reason for requiring a copy of the motion itself, rather than simply a warning
         letter, . . . [is to] encourag[e] the withdrawal of papers that violate the rule
         without involving the district court....‖ 5A Charles Alan Wright and Arthur R.
         Miller, Federal Practice and Procedure § 1337.2, at 722 (3d ed.2004). Thus, “a
         failure to comply with them [should] result in the rejection of the motion for
         sanctions....” Id. at 723.‖


  Roth, 466 F.3d at 1192. (Emphasis Added).



  Lorie‘s Letter stating relief will be sought in Court defeats the purpose of a sanctions

  motion, which is to have papers withdrawn without involving the Court. The Letter is

  disqualified under F.R.C.P. 11.


  The May 28, 2021 Letter further breaches F.R.C.P. 11 by demanding Montalbano

  withdraw claims [#184, FACC] within 10 days, ―[B]efore the end of business on

  Monday, June 7, 2021 . . .‖ [#376-1 at 1]. A Motion for Sanctions requires 21 days under

  Safe Harbor provisions and the Letter is again disqualified under F.R.C.P.11.


  The Letter and filed Motion are substantially different and the Letter did not trigger the

  Safe Harbor period. The Motion should be struck under DDD Civ. P.S. III(B) for

  noncompliance.


         D. Reinken and Lorie’s Motion Does Not Include the Required
            Certifications


  Carlson also demonstrated the proper mandatory certification of compliance with

  F.R.C.P. 11(c)(2) and D.C.COLO.LCivR 7.1 in their filed Motion. (Exhibit 3 at 1).


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  In stark contrast, Lorie and Reinken do not have a conferral certification in their filed

  Motion, and they could not, because they did not attempt any conferral at all with

  Montalbano under D.C.COLO.LCivR 7.1 or F.R.C.P. 11. The Motion should be struck

  under DDD Civ. P.S. III(B) for failure to include the required certifications.



         E. Good Faith Letter Conferral Efforts by Montalbano


  In good faith, Montalbano responded to the Letter within two days of receiving it

  (Exhibit 4, Montalbano email to Murphy, May 28, 2021) and requested Lorie or her

  Counsel discuss alleged complaint issues on a point by point basis. No further details or

  information were provided to Montalbano in or out of Court, or at any time during the

  course of litigation, or prior to the entry of final judgment.



         F. Lorie and Reinken did Not Prior File a Motion For Sanctions in Court
            and it Cannot be Part of their Motion To Dismiss



  In the alternative, Defendant Lorie and her Counsel, Alicia Reinken, imply their Motion

  for Sanctions was prior filed on this Court record by alleging their August 10, 2023 court

  filed Motion is a ―Renewed‖ Motion for Sanctions [#376 at 1].


  Nowhere on this Court record did dismissed Defendant Lorie or her Counsels, Murphy or

  Reinken, file a separate Motion for Sanctions against Montalbano. The Motion for

  Sanctions is not on its face a ―Renewed‖ Motion for Sanctions and Reinken and Lorie are

  in breach of Colo. RPC 3.3(a).


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  The alleged ―Renewed‖ Motion for Sanctions also implies the ―original‖ filed Motion for

  Sanctions was contained in Lorie‘s June 23, 2021, Motion to Dismiss (―MTD‖) [#221]

  stating, ―Lorie previously requested sanctions against Montalbano, which Magistrate Mix

  recommended be dismissed without prejudice because Lorie did not specify the sanctions

  she sought to have imposed . . . .‖ [376 at 8]. Lorie‘s complete MTD Sanction request is

  contained in the following eight (8) words, ―[A]s well as for sanctions against Alyssa

  Montalbano.‖ [#221 at 2].


  Roth v. Green, 466 F.3d at 1192, also addressed the prayer for relief sanctions request

  breach, ―The rule [F.R.C.P. 11] provides that requests for sanctions must be made as a

  separate motion, i.e., not simply included as an additional prayer for relief in another

  motion.‖ Like Roth, Lorie‘s sanctions request in an additional prayer for relief contained

  in another motion and is barred under F.R.C.P. 11.


  To be totally certain, we compare the MTD‘s eight words for Sanctions with the sixteen

  (16) page Court filed Motion for Sanctions and can see they are substantially different.

  The MTD Sanctions prayer is not an ‗original‘ Motion for Sanctions capable of being

  ―renewed‖ post judgment. Ms. Lorie and Ms. Reinken knew or reasonably should have

  known their Sanction prayer request inside their MTD does not qualify as a prior filed

  Motion for Sanctions that could plausibly be ‗renewed‘.




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         G. Lorie’s MTD Sanction Prayer Denied by Magistrate Mix in the
            Recommendation


  In the next theory of relief, Lorie implies she has Court permission to file the late

  August 10, 2023 Motion for Sanctions by citing Magistrate Mix‘s February 28, 2022

  Recommendation [#376 at 8]. Magistrate Mix Recommended denial of Lorie‘s sanctions

  request and instructed then Defendant and Counsel provide the Court with more

  information:

         ―Ms. Lorie ―moves this Court for an Order dismissing her from this action, as well
         as for sanctions against Alyssa Montalbano.‖ Motion [#221] at 2. However,
         Ms. Lorie does not specify what type of sanctions she seeks to have imposed or
         under what legal authority those sanctions should be imposed. See
         D.C.COLO.LCivR 7.1(d) (stating in part: ―[A] motion involving a contested issue
         of law shall state under which rule or statute it is filed and be supported by a
         recitation of legal authority in the motion.‖). In fact, she does not again mention
         sanctions in either her Motion [#221] or Reply [#243]. In the absence of further
         information, the Court recommends that the Motion [#221] be denied without
         prejudice to the extent Ms. Lorie seeks sanctions against Montalbano.‖

  [#283 at 57-58].


  Lorie and her Counsels did not file a Response to the Recommendation within 21 days

  (on or by March 21, 2022), nor did they provide any rules, authorities, or specific type of

  sanctions they sought to impose against Montalbano at any time during the entire course

  of litigation and they cannot reasonably do so now Five hundred six (506) days late

  (1 year, 4 months) or post dismissal and entry of judgment. Lorie‘s late ‗Response to the

  Recommendation‘ should be struck under DDD Civ. P.S. III(B) for being severely

  untimely and in breach of Colo. RPC 3.3(a)(1).



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         H. Lorie’s Motion Cannot be Served on Montalbano On or After the Date it
            is Filed in Court


  The August 10, 2023 Court filed Motion for Sanctions; filed One hundred seventy-four

  (174) days (approx. 6 months) after entry of judgment; is the first time Montalbano has

  seen any Motion for Sanctions written by Lorie or her Counsels in any form.


  Roth also addressed breach of the Safe Harbor provision by filing a post judgment (late)

  Motion for Sanctions and serving the Motion on the opposing party at the ‗same time‘ as

  filing it in with the Court,


         ―[I]t is uncontroverted that they did not, as required by subsection (c)(1)(A), serve
         him [Mulhern] with copies of their actual motions for sanctions twenty-one days
         prior to filing those motions. Indeed, it appears from the record on appeal that
         the motions were served on Mulhern at the same time as, or after, the motions
         were actually filed.

         ...

         . . . [T]he Advisory Committee's Notes clearly suggest that warning letters, such
         as those sent by defendants to Mulhern, are supplemental to, and cannot be
         deemed an adequate substitute for, the service of the motion itself.”

   Roth, 466 F.3d at 1192. (emphasis added).



  Lorie and Reinken‘s Motion for Sanctions [#376] was first filed in this Court,

  August 10, 2023, then subsequently served on Montalbano by the Court‘s CM/ECF

  system in open breach of F.R.C.P. 11, and Colo. RPC 3.3(a), and should be struck under

  DDD Civ. P.S. III(B) for noncompliance.




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         I. The Motion for Sanctions was Filed too Late and is Barred Under
            F.R.C.P. 11


  Rusk citing and upholding Roth, also addressed improper post judgment filing of a

  severely late Motion for Sanctions;


         ―Mr. Rusk not only failed to serve the motion in advance but also filed it too late.
         In our [10th]circuit a sanctions motion must be filed before the entry of
         judgment. Id. at 1193. But Mr. Rusk waited to file the motion for sanctions until
         roughly sixteen months after the entry of judgment.‖


  Rusk, 850 Fed.Appx. at 659. (emphasis added).


  The Court further held, ―[T]hat the district court had abused its discretion by granting a

  motion for sanctions under Rule 11 that had been filed after the entry of judgment.‖ Id.


  Like Rusk, Lorie and Reinken filed their Motion too late by filing it six (6) months after

  the entry of judgment and their Motion is barred in this 10th Circuit Federal Court and

  should be struck under DDD Civ. P.S. III(B), for being untimely.




         J. 11th Circuit Courts (Lorie’s Circuit) also Bar the Post Judgment
            Motion for Breach of Safe Harbor Provisions


  Dismissed Defendant, attorney Lorie, practices law in the state of Florida and within the

  11th Circuit. Ms. Lorie has provided persuasive case law from the 11th Circuit in alleging

  support of her Motion. [#376 at 10, Barnes v. Dalton]




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  The 11th Circuit holds that a Motion for Sanctions can be filed after final judgment

  provided the 21 day Safe Harbor period has elapsed prior to the entry of final Judgment.

  See Huggins v. Lueder, 39 F.4th 1342 (11th Cir. 2022). (Exhibit 5, Huggins v. Lueder).

  In Huggins a Motion for Sanctions was filed five (5) days after entry of final judgment

  and the filing party had served multiple ―[D]raft motions for Rule 11 sanctions.‖, on the

  opposing party more than five months prior entry of final judgment, thus meeting the

  Safe Harbor provision of F.R.C.P. 11. Id. at 1345, Footnote 2.


  In this instant case, the deadline date for Reinken and Lorie to serve Montalbano a lawful

  Motion for Sanctions was January 27, 2023, twenty-one days prior the entry of Judgment

  on February 17, 2023 [#346].


  Because Lorie never served Montalbano a copy of the Motion twenty-one days prior

  entry of Judgment she cannot do so now. The Motion is barred in all Circuits, and should

  be struck under DDD Civ. P.S. III(B) for being untimely and noncomplying.



         K. Relief Already Granted, The Motion is Redundant and Barred


  The 11th Circuit further clarified a Motion for Sanctions ―is barred if the district court

  disposes of a challenged filing before the safe harbor period elapses – because ―any other

  interpretation would defeat the rule‘s explicit requirements.‖ 532 F.3d at 1308 (quoting

  Ridder, 109 F.3d at 295).‖ Huggins, 39 F.4th at 1347. Huggins also had a ―Rule 11

  motion, which targeted the complaint, [that] had never been served on the plaintiff. At




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  all.‖ and ―[E]xplained, ―a party cannot delay serving its Rule 11 motion until conclusion

  of the case (or judicial rejection of the offending contention).‖ (citations omitted), and

  that ―The rationale for [the] rule is simple‖—when service is skipped or delayed, the

  safe harbor is not triggered, and Rule 11 motions that evade the opponent's safe

  harbor review are barred. Id. (citing 2 Moore's Federal Practice § 11.22[1][c] (3d ed.

  2010)).‖ Huggins, 39 F.4th at 1348. (emphasis added).


  Lorie and Reinken‘s filed Motion evaded Montalbano‘s Safe Harbor period and is barred.

  The Motion also seeks relief from Complaints or other alleged offending contentions that

  have already been adjudicated. Because the disposed of matters are no longer before the

  Court, the Safe Harbor period can never be triggered and the Motion is forever barred in

  all Circuits. Lorie‘s Motion is redundant and noncomplying with F.R.C.P. 11 and should

  be struck under DDD Civ. P.S. III(B).


         L. Lorie and Reinken’s Severely Late Attorney Fees Request Disguised as a
            Motion for Sanctions is Barred under F.R.C.P. 54(d)(2)(B)


  Under F.R.C.P. 54(d)(2)(B)(i) a request for attorney fees must, ―be filed no later than 14

  days after the entry of judgment;‖


  On February 17, 2023 Judge Domenico dismissed with prejudice Montalbano‘s SACC

  [#217] against Ms. Lorie under Fed.R.Civ.P 54(b) [#345 at 37-39] by adopting

  Magistrate Mix‘s recommendation [#283] in favor of Ms. Lorie and disposed of all

  matters against Lorie. Final judgment was entered the same day under F.R.C.P. 58(a)

  [#346].

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  Attorneys Reinken and Lorie knew or reasonably should have known, March 3, 2023 was

  the deadline to request their attorney fees and they may not file their request One hundred

  sixty (160) days late disguised as a ‗Motion for Sanctions‘ and their request for fees must

  be denied and struck under DDD Civ. P.S. III(B) for being severely untimely.


  II.       ‘The Court’s Inherent Power’ Cannot Award Fees Against Montalbano
            as No Misconduct was Shown


            A. Denial of Sanctions Under 28 U.S.C. § 1927


  In the alternative Lorie and Counsel, Ms. Alicia Reinken (after breaking every Due

  Process of Law Rule outlined in F.R.C.P. 11) proceed to ask this Court to simply award

  their attorney fees 160 days late, under the pretense of ‗Sanctions‘ via the ‗Inherent

  Power of the Court‘.


  In addressing the request for ‗attorney fees‘ under the Court‘s inherent power,

  28 U.S.C. § 1927 1 must also be lightly addressed 2.

            “while Rule 11 applies to individual filings. The filing of a frivolous complaint,
            alone, may violate Rule 11, but not § 1927 because such a complaint does
            not "multiply" the proceedings. Conversely, a course of conduct can be
            sanctionable under § 1927 even though the individual filings during that conduct
            comport with Rule 11 standards.”

  JEFFREY S. GUTMAN, FEDERAL PRACTICE MANUAL FOR LEGAL AID ATTORNEYS § 4.2.B

  28 U.S.C. § 1927 (2016).3 (footnote omitted). (emphasis added).
  1
   28 USC 1927 generally applies only to attorney’s and law firms and not pro se litigants.
  See GUTMAN at § 4.2.C.
  2
      28 USC 1927 is not mentioned in the Motion [#376] but is implied by the ‘request for attorney fees’.



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  The Court may not use its Inherent Power to award dismissed Defendant Lorie her

  attorney fees under 28 U.S.C. § 1927 for the Complaint filings, because the Complaint

  did not ‗multiple the proceedings‘ and was already adjudicated.



  Further still, Lorie and Counsels‘ Letter [#376-1] was directed at the FACC [#184]. The

  FACC and Letter were both made moot by admission of the SACC [#217] on

  June 18, 2021. At no time since mooting of the FACC to the disposal of the SACC on

  February 17, 2023, did Lorie or Counsels deliver any additional letters, sanction motions,

  or notices of misconduct to Montalbano and as outlined herein they cannot do so now.

  The Court cannot award the attorney fees as requested by the Letter or Motion because

  the Complaint filings did not create any ‗excess‘ costs for Lorie and Reinken and they

  failed to show any misconduct performed by Montalbano. Lorie‘s sanction Motion is

  redundant and should be stricken under DDD Civ. P.S. III(B) for being noncomplying.


            B. Denial of Sanctions Under “The Courts Inherent Power” and
               (F.R.C.P. 11(3),(4), (5), and (6)


  The Court‘s inherent Power to Sanction is broad, but still must be based on conduct

  involving ‗abuse‘ of the judicial process in or out of the courtroom ―[T]o punish persons

  who abuse the judicial process.‖ and sanctions are ―[L]imited to those cases where the

  litigant has engaged in bad-faith conduct or willful disobedience‖ and attorney fees

  ―[M]ust be compensatory in nature, rather than punitive. Thus the attorney fee award is

  3
      https://www.federalpracticemanual.org/chapter4/section2/


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  limited to the amount of fees expended because of the misconduct at issue.‖ and is tested

  via the ‗but for‘ test, ―[T]he court may generally award attorney fees only for legal work

  that would not have been necessary but for the misconduct.‖ See GUTMAN at § 4.2.C.

  (footnotes omitted).


  As outlined herein, there is no misconduct by Montalbano that resulted in excess legal

  work being performed by Lorie or her Counsels. Conversely there is misconduct by

  Reinken and Lorie resultant from their filing the vexatious Motion.


  Additionally, the Court also cannot impose monetary sanctions against Montalbano under

  F.R.C.P. 11(3), (4), (5), and (6) as there has been no show-cause order entered in this

  case under Rule 11(c)(3) directed at Montalbano and in particular no order regarding any

  of the alleged contentions in Lories untimely Motion for Sanctions; and thereby

  Montalbano did not breach any orders or perform any misconduct under Rule 11.


         C. False Statements by Lorie and Counsels in the Motion and in Repeat
            Breach Of Colo. RPC 3.3 and 3.4


  Montalbano is not lawfully required to respond to the content of the Motion because it

  was not properly served or filed under F.R.C.P. 11; however there are false statements in

  the Motion that must be cited as additional breaches of Colo. RPC 3.3 and 3.4. To further

  show the Motion demonstrates a bad-faith filing and lacks candor with the tribunal.




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        1. In the Motion for Sanctions, Ms. Lorie and Ms. Reinken state Montalbano‘s

           complaint is ―[A] 500 page pro se Answer and Counterclaims. [Doc. 184].‖

           [#376 at 2]. In Lorie‘s MTD it states, ―[F]iled an almost 250 page Answer to

           Second Amended Complaint which included counterclaims against Ms. Lorie.

           (See Docket no. 184, hereafter Counterclaims‖)‖ [#221 at 2]. The Answer and

           [moot] FACC are 243 pages [#184]. The Answers and [moot] SACC are 232

           pages [#217]. Lorie‘s Motion to Dismiss statement is more accurate. The

           Motion for Sanctions statement is a lie. The proposed pending TACC is 122

           pages (excluding the 28 page Answers) [#355-1] and does not include Lorie.

           Lorie and her Counsel changed a basic fact to mislead the Court, in breach of

           Colo. RPC 3.3, Candor Towards the Tribunal, and Colo. RPC 3.4, Fairness to

           Opposing Party.


        2. The Letter [#376-1] from Counsel Murphy also made a misleading statement

           in breach of Colo. RPC 3.4(b) in falsifying testimony by asserting, ―Ms. Lorie

           never provided you with a ―fake address‖ for her law firm.‖ [#376-1 at 1] this

           is knowingly misleading because Lorie and her Counsels knew the address was

           provided to Christina Ferrante (December 17, 2019); a critic of Lorie‘s public

           figure employers (Goode and Wilcock) [#121-1 at 6-7; #217, SACC ⁋677,

           Ferrante]. Montalbano attempted to notify Lorie, December 31, 2019, that

           Ms. Ferrante was a potential witness in case 18CV50 and to stop harassing her.

           Montalbano discovered the address was fake when the Certified Mail was



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           returned to Montalbano as ―NOT AT THIS ADDRESS‖ and ―Refused‖

           [#121-1 at 1-3, USPS mailed December 31, 2019].



           Around the same Lorie threatened her business‘ critic Ferrante with a SLAPP

           lawsuit [#254-3, Colorado SLAPP Legislation], Lorie was creating an online

           ascension course for Goode that earned over $700,000 in sales (2019 – 2020)

           [#161-5 at 2, Lorie website post; #355-1, TACC ⁋93, ⁋108 H.]. Lorie told

           Ferrante in the coercion letter she was legal counsel for Goode and Wilcock

           [#121-1 at 6]. On the Court record Lorie falsified her testimony that she only

           represented    Goode     ‗one   time‘   in   a   Montalbano   v.   Goode    case

           [See, Montalbano‘s admitted Surreply at Docket 271 for fuller details; and

           #271-1, Lorie v. Goode, 2020CV265, Boulder District Court Complaint]. Lorie

           breached Colo. RPC 1.8(i), Conflict of Interest, as she had a proprietary

           interest in the subject matter of any lawsuit involving Goode, including in

           Montalbano v. Goode, case 18CV50 (2018 – 2020).



        3. Lorie further misleads the newly assigned Magistrate Judge Starnella and the

           Court by stating Montalbano ―[I]s not an ignorant or naïve plaintiff. She is not

           a lay person [sic] whose pleadings demonstrate a misunderstanding of the law

           . . . .‖ [#376 at 13].




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           At the time of writing all complaints prior the TACC, Montalbano had no

           formal training in the law. Belabored personal research and studies, yes; legal

           training, no; a lot of learning by attempting to correctly apply the law and

           being told it was incorrect, yes. [#82 ACM Motion Ext Time and Clarify what

           complaint to answer; #96 KLM Order Denying as Moot #82;              #187 ACM

           Motion Clarify service of process on Wilcock; #199 KLM denying

           clarification of #187; #293 Motion to Clarify Summons to use; #301 KLM

           denying clarification of #293]. To mitigate frustrations, Montalbano began

           attending college for a Paralegal AAS degree and started January 2023 and

           took one class (Torts); then two in Summer 2023 (Legal Research & Writing;

           and Contracts). Montalbano is legally a layperson until after graduation.



        4. Lorie also falsely alleges in the Motion Montalbano has money to pay an

           award of fees [#376 at 14-15]. Montalbano reasonably believes Lorie knows

           her statement is false and knows that Montalbano is exempt under Colorado

           Exemption Law due to the recent post judgment procedures in Case 18CV50:


           (i) January 29, 2020, Case 18CV50 was dismissed in Goode‘s favor

              [#121-24, same as #325-1]. Post dismissal, Lorie and Yanaros timely

              requested attorney fees [#161-3 (note Lorie used a different mailing address

              to collect money for her legal services, than provided to Ferrante)]


           (ii) Judgment was entered, August 5, 2020 [#325-2 at 4].


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           (iii) Goode transferred all his judgment collection rights to Thomas D. Seaman

              dba ALPINE JUDGMENT RECOVER (―AJR‖), June 16, 2022 [#325-4];

              and collection rights motion granted, December 15, 2022.


           (iv) Multiple removals occurred seeking joinder of 18CV50 and AJR with this

              instant case [#320; #321; #322; #329; #331; #341; #348 Order denying 320,

              322, 331] during the pendency of the Deprivation of Rights claim [#315].


           (v) In case 18CV50, Montalbano was granted a Protective Order May 4, 2023

              (Exhibit 6) forbidding Goode to see any of Montalbano‘s privileged

              information or private financial records, all of which were subsequently

              delivered to AJR proving Montalbano‘s Exemption status. It is reasonable

              to assume, Yanaros, Lorie, and Goode all know Montalbano‘s exemption

              status, due to case 18CV50 post judgment collection efforts.


        Because the Motion for Sanctions is vexatious, Montalbano reasonably believes

        Goode, Yanaros, and Lorie conspired together to circumvent Judge Chaffin‘s

        Protective Order by attempting to have Lorie acquire Montalbano‘s privileged

        information via alleged ‗Sanctions‘ for subsequent delivery to Goode. This would

        not be the first time Goode had an associate stalk or harass Montalbano on his

        behalf. [See TACC #355-1 at 72-96, Defamation, Abuse of Process, Malicious

        Prosecutions; and #378 at 6, No. 2., Moriarity]




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  Due to word count limitations, not all false statements are addressed herein. Matters not

  specifically addressed are expressly denied and Montalbano reserves the right to make

  corrective statements at a later date if the Motion for Sanctions is not struck pursuant Due

  Process of Law, F.R.C.P. 11, and DDD Civ. P.S. III(B).



                      III.   Montalbano Request for Compensatory Fees


  Montalbano respectfully requests compensation be awarded to Montalbano under

  F.R.C.P. 11(c)(2), 28 U.S.C. § 1927, and the Court‘s Inherent Power.



  As outlined herein, Ms. Lorie and Ms. Reinken, knew or reasonably should have known

  with any preliminary investigation of sanctions laws they could not file their untimely

  and noncomplying Motion in any Circuit Court in America.


  Montalbano reasonably believes Florida attorney, Elizabeth Lorie, ghost wrote the

  vexatious    Motion    and    that   Reinken     maliciously    filed   it     in   breach    of

  Colo. RPC 1.8(i) (Lorie proprietary interest in Goode‘s legal proceedings);

  3.3(a)(1) (false statements to tribunal); and 3.4(b) (falsifying testimony).


  Lorie, Reinken, and ROBINSON & HENRY, P.C., all owed a duty of care to first

  investigate Sanction Due Process Rules and ensure the papers they filed were timely and

  not for an improper purpose and they did not. In filing the Motion, Reinken, breached

  her Oath of Office to Colo. Const. art. II, § 25 (Due Process), and violated Montalbano‘s



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  inalienable right thereto, and forced new Paralegal student Montalbano to perform the

  services Reinken or Lorie‘s paralegals (or themselves) should have performed prior to

  writing and filing the Motion, but did not.



  Montalbano requests the Court order attorney‘s Ms. Reinken and Ms. Lorie under

  F.R.C.P. 11(c)(2), 28 USC 1927, and the Courts inherent power, to jointly and severally

  compensated Montalbano for the forced performance of Paralegal services at the current

  average Colorado Paralegal hourly rate of $26.52 (or any greater amount deemed just by

  the Court) for approximately One hundred eleven (111) hours ($2,943.72) of time spent

  researching and defending against the bad-faith Motion for Sanctions [#376] that

  vexatiously multiplied the proceeding and stole Montalbano‘s entire vacation time after

  having none for over a year and ruining travel plans and family time.



  Montalbano further requests ROBINSON & HENRY, P.C. be ordered to pay into the

  Court three times the amount ordered paid to Montalbano, or another greater amount as

  determined just, to deter other attorney in the firm from filing vexatious and untimely

  motions in this instant case and to generally deter ROBINSON & HENRY attorney‘s

  from abusing the judicial process and pro se litigants by improperly using post judgment

  Motions for Sanctions to acquire late attorney fees.




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  WHEREFORE, Montalbano moves the Court to Deny with Prejudice the Motion for

  Sanctions for it being barred in every Circuit Court under F.R.C.P. 11 and to strike the

  vexatious, untimely, and noncomplying Motion pursuant DDD Civ. P.S. III(B), and to

  impose the respectfully requested monetary sanctions against Reinken, Lorie, and

  ROBINSON & HENRY P.C.; and award compensatory damages to Montalbano under

  F.R.C.P. 11(c)(2), 28 U.S.C. § 1927 and the Courts Inherent Power, for defending against

  the bad-faith Motion that maliciously multiplied the proceedings, and grant any other

  relief the Court deems just.


  Dated this 28th day of August 2023.



                                                     Respectfully Submitted and All
                                                     Rights Reserved,

                                                     /s/ Alyssa Chrystie Montalbano

                                                     Pro Se Litigant, Defendant,
                                                     Counter-Claimant, Third-Party
                                                     Plaintiff, Paralegal student

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                                     CERTIFICATE OF SERVICE

  I certify that on this 28th day of August 2023 a copy of the foregoing Response and attached Exhibits
  were filed with the clerk of the court using the CM/ECF system and are lawfully served upon relevant
  parties counsels and upon appeared Defendants, through the Case Management/Electronic Case Filed
  (CM/ECF) court filing system (F.R.C.P. Rule 5); and upon Mr. David Wilcock and WILCOCK
  FOUNDATION via United States Postal Service first class mail with tracking to their appointed agent:
  CORPORATE CAPITAL INC., c/o Mr. Brent Carlson, 7848 W. Sahara Ave, Las Vegas, NV 89117.

  /s/ Alyssa Montalbano

  Alyssa Montalbano, Pro Se Litigant, Paralegal student




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